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                           EXHIBIT A




                           EXHIBIT A
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                               Michael D. Schwarzmann
                              2005 Kornat Drive, Costa Mesa, CA 92626
                                 michaelschwarzmann@yahoo.com
                                          (714) 623-1854




 Michael has 20 years experience providing advisory services to lender groups, companies,
 bondholder groups, unsecured creditors committees, and other stakeholders on financial,
 operational and strategic issues affecting underperforming, stressed, and distressed companies.
 His advisory and consulting work experience focuses on assisting distressed companies,
 revitalizing underperforming businesses, marketing troubled companies and advising their
 creditor constituents. In addition, Michael is a licensed attorney who formerly practiced
 bankruptcy law.

 Michael has assisted clients in developing and evaluating business and turnaround plans,
 analyzing financial and operational performance, and formulating successful workout,
 restructuring or bankruptcy strategies to preserve or improve asset values for stakeholders. His
 industry experience includes: health care, manufacturing, agricultural, construction, restaurants
 and franchising, energy, travel and investment banking.

 Michael has experience in identifying and implementing positive near term and long term
 change for client, including identifying opportunities, negotiating with constituents, and building
 consensus where possible.

 Michael utilizes the skills and expertise garnered working for nationwide restructuring groups on
 a smaller platform so that he can provide reduced rates to middle market and smaller market
 companies.




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                               Michael D. Schwarzmann
                              2005 Komat Drive, Costa Mesa, CA 92626
                                 michaelschwarzmann@yahoo.com
                                          (714) 623-1854
  A financial and operational professional with over 20 years of experience acquiring, evaluating
  and analyzing complex data to influence strategy and profitability. Significant experience working
  across the organization to gain consensus toward goals, objectives and the action plan.
  EXPERIENCE
  FINANCIAL AND OPERATIONAL CONSULTANT                                 May 2017 — Present
  Managing Director                                                    Dec. 2010 — Aug. 2011
     • Reduced management costs by $20,000 per week by employing and empowering
         business office employee and eliminating 2+ FTE consultant
     • Analyzed and focused maintenance projects to reduce cost by 50% through replacing
         maintenance supervisor and utilizing construction knowledge to adjust deliverables
     • Developed analytical tools to reduce or eliminate creditor claims using analytical and
         legal principals, resulting in 50% greater payment to creditors
  CROWE HORWATH, LLP                                                   Aug. 2011 — May 2017
  Managing Director                                                    Costa Mesa, CA
     • Saved over $8 million by modeling financial scenarios incorporating legal analysis to drive
         negotiations; created management presentations and lead discussions.
     • Prepared profitable business plan adjusting for reduced product demand driven by
         technological innovation, adjusting products to retain existing customers.
     • Eliminated over $100 million of debt by analyzing financial performance of 4 location
         business and strategizing a response to member and community litigation.
     • Integrated multiple location manufacturing company into multi-billion dollar corporation,
         anticipating and planning for disruption, enabling integration despite seller's conduct
     • Assessed partially completed government contracts to ascertain value, including
         negotiating legal hurdles with attorneys for the USA
     • Investigated, developed and implemented creative solutions confronting entities, including
         designing and implementing practical insights to drive results for clients. Identified,
         collected, evaluated, and analyzed information to form actionable strategies. Utilized
         strong analytical skills to present fact based recommendations in a contentious
         environment.
  GRANT THORNTON, LLP                                                  Oct. 2009 — Dec. 2010
  Director                                                             Irvine, CA
     • Identified $7 million in additional value available to satisfy judgment by analyzing assets
         of publically traded company to ascertain ability to satisfy judgment.
     • Assisted borrower in avoiding liquidation by performing operational and financial analysis
         resulting in positive cash flow and profitability forecast, including preparing management
         presentations and conducting lender negotiations.
     • Monitored cash flow to assure funds were paid to sub-contractors and increased value
     • Developed value maximizing strategy for a 50-company enterprise containing a solvency
         analysis to determine scope of secured creditor's collateral; negotiated key issue.
         Participated in auction of operating business to creatively maximize overall consideration.
     •   Utilized  situational data and business acumen to develop models reflecting impact of
         opportunities to aid management and other decision makers, based upon the acquisition,
         evaluation and analysis of pertinent information, coupled with creative thinking, to develop
         and implement optimal strategies.

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                                Michael D. Schwarzmann
                               2005 Kornat Drive, Costa Mesa, CA 92626
                                  michaelschwaranann@yahoo.com
                                           (714) 623-1854
  XROADS SOLUTIONS GROUP, LLC                                        Dec. 2003 — Oct. 2009
  Principal                                                           Santa Ana, CA
     • Determined site level profitability of 100 restaurant franchisee, including gathering and
         analyzing information, four wall operational analysis, multi-lender collateral review,
         financial performance trends, and evaluated strategic response to declining revenues.
     •   Re-designed    employee benefit plan for nationwide company, resulting in avoidance of
         10% premium increase and reduction of out of pocket costs for the majority of employees
     • Completed comprehensive analysis of fast food restaurant franchisor, including historical
         financial reporting and preparing pro forma forecasts for interested buyers. Prepared all
         sale materials, led negotiations and auction.
     • Performed deep and strategic data analysis to reduce Qui Tam liability by $20 million
     • Generated 8% savings on annual office supply spend for nationwide company
     • Advised international manufacturing company on its liquidity event, including preparing
         sale materials and items for the data room, participating in management meeting and
         negotiating with buyers.
     • Gathered, assessed, investigated, and analyzed operational and financial information for
         manufacturer and recommended strategy to maximize value, the advisability of WIP
         build out, liquidation scenarios, and litigation.
  ATTORNEY
  Bankruptcy Judge Sheri Bluebond                                    2001 — 2003
  United States Bankruptcy Court, Central District of California     Los Angeles, CA
  Assayag Mauss, APC                                                 2000 — 2001
  Attorney practicing with Orange County boutique law firm           Irvine, CA
  Lewis D 'Amato Brisbois & Bisgaard                                 1998 — 2000
  Attorney practicing with one of the largest California law firms   Los Angeles, CA
  Arter & Hadden                                                     1995 — 1998
  Attorney practicing with 150 year-old national law firm            Los Angeles, CA
  Chief Bankruptcy Judge Calvin K. Ashland                           1994 — 1995
  United States Bankruptcy Court, Central District of California     Los Angeles, CA
  BUSINESS PROFESSIONAL (Various)                                     1983 — 1991
  Positions included performing accounting functions for a real estate developer, leading
  marketing efforts for a governmental agency's socio-economic forecasts, performing detailed
  inventory control function for multi-warehouse during active construction, and human resources
  for a large regional operation and created automated processes for greater data tracking.
  EDUCATION
  UCLA ANDERSON SCHOOL OF MANAGEMENT                                 2003
  Master of Business Administration                                  Los Angeles, CA
  LOYOLA LAW SCHOOL, LOS ANGELES                                     1994
  Juris Doctor                                                       Los Angeles, CA
  University of Southern California Marshall School of Business 1988
  Bachelor of Science in Business Administration                Los Angeles, CA
  Active Member of California State Bar — Admitted to all state and federal courts in California

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                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 601
South Figueroa Street, Suite 2500, Los Angeles, CA 90017:

A true and correct copy of the foregoing document entitled (specify):          DECLARATION OF MICHAEL D.
SCHWARZMANN IN SUPPORT OF THE APPLICATION OF THE OFFICIAL COMMITTEE OF EQUITY SECURITY
HOLDERS TO EMPLOY MICHAEL D. SCHWARZMANN AS FINANCIAL ADVISOR NUNC PRO TUNC AS OF
OCTOBER 20, 2017 will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 8, 2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

      •   Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
      •   Ron Bender rb@Inbyb.com
      •   Cathrine M Castaldi ccastaldi@brownrudnick.com
      •   Russell Clementson russell.clementson@usdoj.gov
      •   Aaron S Craig acraig@kslaw.com, Iperry@kslaw.com
      •   Matthew A Gold courts@argopartners.net
      •   Monica Y Kim myk@Inbrb.com, myk@ecf.inforuptcy.com
      •   Samuel R Maizel samuel.maizel@dentons.com,
            alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.howard@
            dentons.com
      •   Krikor J Meshefejian kjm@Inbrb.com
      •   Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
      •   S Margaux Ross margaux.ross@usdoj.gov
      •   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
      •   Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com

                                                                                            ❑ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) November 8, 2017, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            El Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 8, 2017, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                                F 9013-3.1.PROOF.SERVICE
I 05437348W- I
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BY PERSONAL DELIVERY
Hon. Martin R. Barash
US Bankruptcy Court
Central District of California
21041 Burbank Blvd., Suite 342/Ctrm. 303
Woodland Hills, CA 91367

                                                                                         El    Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 8, 2017 Christina O'Meara                                                                /s/Christina O'Meara
 Date                              Printed Name                                                    Signature




               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                              F 9013-3.1.PROOF.SERVICE
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SERVED BY U.S. MAIL:

Secured Creditor                                        Counsel to Radians Wareham                          U.S. Securities and Exchange
Radians Wareham Holding, Inc.                           Holdings                                            Commission
Attn: Mike Tutor, CEO                                   E. Franklin Childress, Jr.                          Attn: Bankruptcy Counsel
5305 Distriplex Farms                                   Baker, Donelson, Bearman, Caldwell                  444 South Flower Street, Suite 900
Memphis, TN 38141                                       & Berkowitz, PC       •                             Los Angeles, CA 90071-9591
                                                        165 Madison Ave, Suite 2000
                                                        Memphis, Tennessee 38103

Governmental Agencies
Internal Revenue Service                                Franchise Tax Board                                 State Board of Equalization
P.O. Box 7346                                           Bankruptcy Section, MS: A-340                       Account Information Group, MIC: 29
Philadelphia, PA 19101-7346                             P.O. Box 2952                                       P.O. Box 942879
                                                        Sacramento, CA 95812-2952                           Sacramento, CA 94279-0029

Employment Development Dept.
Bankruptcy Group MIC 92E
P.O. Box 826880
Sacramento, CA 94280-0001

Equity Holders - SERVED BY EMAIL
Patrick W. O'Brien                                      Ronald Chez                                         Scott Jarus
301 Whitmore Lane                                       1524 N. Astor Street                                938 Duncan Avenue
Lake Forest, IL 60045-4707                              Chicago, IL 60610                                   Manhattan Beach, CA 90266
Email: obrien.pat@me.com                                Email: rlchez@rcn.com                               Email: scott.jarus@verizon.net




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
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